AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT
for the
JUL 1.8 2016

Eastern District of Texas

 

 

 

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(Supplied by Clerk of Court)

fu /KE

BretittMichael Blasirue Teams,

Petitioner

Vv.

Warden Dallas Jones
Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your full name: Brett Michael Blasirue
(b) Other names you have used:

 

 

 

 

 

 

2. Place of confinement:
(a) Name of institution: FCI Beaumont medium
(b) Address: 5830 Knauth Road (77705) P.0w.Box 26040 Beaumont Texas 77720
(c)Your identification number: 68872-097
3. Are you currently being held on orders by:
& Federal authorities G State authorities C Other - explain:
4, Are you currently:

GA pretrial detainee (waiting for trial on criminal charges)
J Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide: ,
(a) Name and location of court that sentenced you:

 

 

(b) Docket number of criminal case:

 

(c) Date of sentencing:
CO Being held on an immigration charge

OC Other (explain):

 

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Decision or Action You Are Challenging

5. What are you challenging in this petition:

®&J How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

O Pretrial detention

OC Immigration detention

G Detainer

OThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory

maximum or improperly calculated under the sentencing guidelines)
Disciplinary proceedings
CJ Other (explain):

 

 

 

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court: Ditscipline Hearing, here at FCI Beaumont
_meédium

(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):
y ging Pp

The loss of Forty One (41) days Good Conduct Time

 

 

(d) Date of the decision or action: 12/15/2014

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
Yes CNo ,

(a) If “Yes,” provide:

(1) Name of the authority, agency, or court: South Central Regional Office for the

federal Bureau of prisons.

(2) Date of filing: 1/8/2015

(3) Docket number, case number, or opinion number: 806032-R1

(4) Result: 3 DetitediSee ‘Exhibitctad

(5) Date of result: 2/4/2015 -

(6) Issues raised: The NIK test kit misidentified::the sage in my medicine bag.
U The staff here retested the sage and found out:thatiit was not K2, but are

incapable of rectifying this injustice.

 

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(b) Ifyou answered “No,” explain why you did not appeal:

 

 

 

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
Yes ONo
(a) If“Yes,” provide:
-(1) Name of the authority, agency, or court: Central Office in Washington D.C. for the

 

Bureau of Prisons.
(2) Date of filing: 3/23/2015

 

(3) Docket number, case number, or opinion number: 806032-AI

 

(4) Result: Denied

(5) Date of result: june 10, 2015
(6) Issues raised: Same as the first appeal, See Exhibit "A'

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not file a second appeal:

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
OYes [No
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court:

 

(2) Date of filing:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

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(b) If you answered “No,” explain why you did not file a third appeal: There is not a third ievel
level to the appeal process, the Central Office is the highest authority in ci:: :

the BOP. _ oe. _

 

Motion under 28 U.S.C. § 2255
In this petition, are you challenging the validity of your conviction or sentence as imposed?

C1 Yes ONo

IfYes,“ answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
0 Yes Oj No

If“ Yes,” provide:
(1) Name of court:
(2) Case number:
(3) Date of filing:
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

O Yes 1 No
IF“ Yes,” provide:
(1) Name of court:

 

(2) Case number:
(3) Date of filing:
(4) Result:
(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

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lee’.
AO 242 (12/11) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your

conviction or sentence:

 

 

 

 

 

 

 

Appeals of immigration proceedings
Does this case concern immigration proceedings?
Yes ONo

If“Yes,” provide:

(a) Date you were taken into immigration custody:

 

(b) Date of the removal or reinstatement order:

 

(c) Did you file an appeal with the Board of Immigration Appeals?
0 Yes TO No
If “Yes,” provide:
(1) Date of filing:

 

(2) Case number:

 

(3) Result:

 

(4) Date of result:

 

(5) Issues raised:

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?

Yes 0 No
‘If*Yes,” provide:

(1) Name of court:

 

(2) Date of filing:

 

(3) Case number:

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?

OYes ONo

If“ Yes,” provide:

(a) Kind of petition, motion, or application:
(b) Name of the authority, agency, or court:

 

 

 

(c) Date of filing:
(d)} Docket number, case number, or opinion number:
(e) Result:

(f) Date of result:
(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the

facts supporting each ground.

GROUNDONE: That my Due Process rights were violated, in that I was persecuted

because of my religious beliefs.

 

 

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(a) Supporting facts (Be brief. Do not cite cases or law.):

I was practicing my religious beliefs,..with.my: Medicine: Bag.around..my.neck:'when
G6ffite#“Russell,-bepun harassing-me. He:+has: harassed-meand others of my religious
_beliefubefore. He took my Medicine:Bag and tested the Sage that I keep in the bag
_it gave a false positive for amphetamines. The sage was latter sent out and tested
_at a laboratory which came back that the substance was in fact not amphetamines.
(b) Did you present Ground One in all appeals that were available to you?
{3 Yes GNo .

 

GROUND TWO: That my Due Process rights are: being violated since the staff here
at FCI Beaumont refuses: to admit that they made a mistake and. that Ii.am being
punished for a violation that I did not commit...... 2... ,

fy

 

(a) Supporting facts (Be brief Do not cite cases or law.):

The. Warden Toldi:my: Case. Manager to.fdix this',::meaning that he-should expunge -
this incident reporti,.because.of the lab results clearing me of this violation
but he hasuyet.to. follow those orders. I am being punished for an infraction

that the staff here know that I am no guilty of and yetithey refuse to do «...;ziini.
anything about this injsutice.

 

(b) Did you present Ground Two in all appeals that were available to you?
OYes . ®INo

GROUND THREE:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
OYes ONo

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AO 242 (12/14) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

GROUND FOUR:

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?

0 Yes ONo

If there are any grounds that you did not present in all appeals that were available to you, explain why you did

not: I did not present Ground Two in the appeals because of the fact that Ii:
did not:.findéout .about:.the. laburesults until after the appeal process was over.

 

Request for Relief

15S. State exactly what you want the court todo: I simply want my Good Conduct Time restored, which

totals to Forty One (“4r) days.

 

 

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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

 

] declare under penalty of perjury that I am the petitioner, | have read this petition or had it read to me, and the
information in this petition is true and correct. ] understand that a false statement of a material fact may serve as the basis

for prosecution for perjury.

pate: (p-30- Ib bea 2, os

Signature of Petitioner

 

Signature of Attorney or other authorized person, if any

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\us, Department of Justice , - Central Office Administrative Remedy Appeal

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Type or use ball—point pen. If attachments are needed, submit four copies. One copy each of the completed BP-DIR-9 and BP-DIR-10, including any attach—
ments must be submitted with this appeal.

 

From: __Blasirue, Brett 68872-097 KB FCI Beaumont medium
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

Part A~REASON FOR APPEAL L am contesting the Incident Report numbered 2657863. The leafy substance
that was in the 'Medicine Bag' was a mixture of Sage, Frankincense, Myrrh, and salt. It gave :
false positive on the NIK (Narcotics Identification Kit), which is notoriously inaccurate and not
admissible in a Court of law as irrefutable evidence. That is why the Program statement 6060.0!
states that, "An initial positive test is confirmed by a second test before it is reported to the
institution." The reason for the second test is the fact that the NIK tests are not reliable as
a sole source to find someone guilty, beyond a reasonable doubt.Also, the Incident Report statec
that the Operations. Lt. Hester tested the substance but the actual person that tested the
substance was Officer Russell, who is not qualified to use this test.

I am allowed to use this mixture at the outside religious area, which I was in before C/(
Russell pat searched me. The mixture is in observance of my religious beliefs and therefore
allowed by the Bureau of Prisons and the United States Code Service. These items are in ouj
religious locker right at this moment, this is were I got these items from.

The resolution that I am seeking is for this substance to be sent to the lab and a complete
analysis done.

 

 

 

. i
MN. -
" DATE . SIGNATURE OF REQUESTER
Part B—RESPONSE

 

 

 

 

 

 

 

Adm,
Federal Bune medy Of
WHICE
UOTtPrisons
DATE GENERAL COUNSEL
ORIGINAL: RETURN TO INMATE CASE NUMBER: 0 } a7 f
Part C—RECEIPT oO
CASE NUMBER:
Return to:
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:
DATE & SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL BP-231(13)
Printed on Flocycied Paper APRIL 1982

USP LVN
n

U.S-,Department of Justice Regional Administrative Remedy Appeal

Federal Bureau of Prisons

Type or use ball~point pen. If attachments are needed, submit four copies. One copy of the completed BP-DIR-9 including any attachments must be submitted
with this appeal.

From: __Blasirue, Brett M. 68872-097 KB FCL Beaumont medium
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

Part A~REASON FOR APPEAL I am contesting the Incident Report numbered 2657863. The leafy
substance that was in the ‘Medicine Bag’ was a mixture of Sage, Frankincence, Myrrh, and salt. It
gave a false positive on the NIK (Narcotics Identification Kit), which is notoriously inaccurate.
This is why the Program Statement 6060.08 states that, "An initial positive test is confirmed by a
second test before it is reported to the institution." The reason for the second test is the fact
that the NIK tests are not reliable as an only source to find someone guilty with a Urine
analysis. This NiK test is designed to test urine, but in this case Officer Russel used a
substance, which this Kit is not designed to do and came up with the only evidence against me.
Also, the incident Report stated that the Operations Lt. Hester tested the substance but the
actual person who did the test was Officer Russeil.

i am aliowed to use this mixture at the outside religious area, which I was in before Officer
Russel pat searched. The mixture is in observance of my religious belief and allowed by the Bureau
of Prisons and the United States Code Service. These items are in our locker right at this moment
and I have access to the afore mentioned items. That is were I procured them from.

Officer Russel has a history of finding these herbs on Wiccas and testing them himself. He is
not IDC Certified as per P.S. 5270.09 and therefore should not be using the NIK tester. Officer
Russel waited at the outdoor religious service when the Wiccas were participating in our services.

og) PAGE ONE OF TWO 4rd B= _

DATE

 

 

Part B—RESPONSE

 

JAN 16 2015

Bei ‘Sui or Prisons
Legal {Diss IC tment, SCRO

 

 

DATE REGIONAL DIRECTOR

If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel’s Office within 30 calendar
days of the date of this response. 4) .

Fs ’
ORIGINAL: RETURN TO INMATE CASE NUMBER: At

Part C—RECEJPT
CASE NUMBER:

Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL . REG. NO. UNIT INSTITUTION
SUBJECT:

 

BP-230(13)

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PAGE TWO OF TWO

This points to a ciear and determined vendetta against the Wicca population. At
the time 1 was given the Incident Report and when I went to DHO I requested that
the substance be sent to the lab and retested.

Any one of these facts should be enough to overturn this Incident Report and
finding ot guilt by the DHO Ms. Lacy. The resolution that I am seeking is for the
incident Report numbered 2657863 to be expunged from my record and the Good Time
Credit to be reinstated.
 

 

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e (
DISCIPLINE HEARING OF ri1CER REPORT BP-S305.052 MAY 94
U.S. DEPARTMENT OF JUSTICE , FEDERAL BUREAU OF PRISONS
INSTITUTION FCC Beaumont Medium INCIDENT REPORT NUMBER 2657863
INMATE NAME Blasirue, Brett REG NO 68872~097 . UNIT KB
DATE OF INCIDENT 12-04-2014 | DATE OF INCIDENT REPORT 12-04-2014
OFFENSE CODE(S) 113
SUMMARY OF CHARGES Possession of any Narcotics, Marijuana, Drugs, Alcohol,

Intoxicants or Related Paraphernalia not Prescribed for the
Individual by the Medical Staff

 

 

I. NOTICE OF CHARGE (S)

 

A. Advanced written notice of charge (copy of incident Report) was given to inmate on

(date) 12-04-2014 at (time) 8:25 (by staff member) D. Hadnot

 

B. The DHO Hearing was held on (date) 12-11-2014 0825

 

C. The inmate was advised of his/her rights before the DHO by (staff member)
S. Allen on (date) 12-5-2014 and a copy

of the advisement of rights form is attached.

 

II. STAFF REPRESENTATIVE

 

 

 

 

 

A. Inmate waived right to staff representative. Yes:

 

B. Inmate requested staff representative and appeared.

 

c. Requested staff representative declined or could not appear but inmate was advised of
option to postpone hearing to obtain another staff representative with the result

 

 

 

 

 

 

N/A

D. Staff representative N/A was appointed.
E. Staff representative Statement: N/A

IIIT. PRESENTATION OF EVIDENCE

A. Inmate ADMITS NEITHER X| the charges.

 

 

 

 

 

 

B. Summary of inmate statement:

 

inmate stated, “decline to make a statement.”

 

Yes: No: x

 

 

 

 

1. The inmate requested witness (es) .

 

2. The following persons were called as witnesses at this hearing and appeared. (Include

each witnesses' name, title, req number and statement as appropriate.)

 

N/A

 

3. The following persons requested were not called for the reason(s) given:

 

 

Page | of 4

 

 
 

oo c (
DISCIPLINE HEARING OF r.CER REPORT BP-S305.052 MAY 94

 

 

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
N/A

4. Unavailable witnesses were requested to submit written Yes No n/A | x
statements and those statements received were considered.

 

 

 

 

 

 

 

4

D. Documentary Evidence: In addition to the Incident Report and Investigation, the DHO
considered the following documents:

 

1. Photo
2. Chain of Custody Log

 

E. Confidential information was used by DHO in support of his findings, but was not
revealed to the inmate. The confidential information was documented in a separate
report. The confidential information has been (confidential informants have been)
determined to be reliable because: N/A.

 

 

IV. FINDINGS OF THE DHO

 

x |A. The act was committed as charged.

 

 

B. The following act was committed:

 

C. No prohibited act was committed: Expunge according to Inmate Discipline PS.

 

 

V. SPECIFIC EVIDENCE RELIED ON TO SUPPORT FINDINGS (Physical evidence, observations,
wxitten documents, etc.)

 

The inmate’s due process rights were read and reviewed by the DHO to the inmate. The DHO

confirmed the inmate received a copy of the incident report, did not want a staff
representative, did not want witnesses, and had no documentary evidence to present. The
inmate understood his due process rights and was ready to proceed with the disciplinary

process,

The DHO finds that inmate Blasirue, Brett, Register 68872-097, was in Possession of any
Narcotics, Marijuana, Drugs, Alcohol, Intoxicants or Related Paraphernalia not Prescribed
for the Individual by the Medical Staff in violation of code 113. The DHO relies upon
the reporting officer’s eyewitness statement; On 12-04-2014 at approximately 6:15 p.m.,
while conducting a pat search on inmate Blasirue, Brett Reg. 68872-097 on the compound in
front of recreation, I discovered that he had a brown leather bag tied to a lanyard
around his neck. Upon further investigation, I found that the bag was filled with an
unidentified green leafy substance. I took the substance to the lieutenant’s office
where it was tested by the Operations LT using the “Nik Test Kit A” in which it tested

positive for Amphetamine.

The DHO draws adverse inference towards the inmate for declining. to address the charge.

Based upon these facts, the DHO is convinced that inmate Blasirue, Brett, Register Number
68872-097 was in Possession of any Narcotics, Marijuana, Drugs, Alcohol, Intoxicants or
Related Paraphernalia not Prescribed for the Individual by the Medical Staff in violation
of code 113. The DHO based her decision on the greater weight of the evidence. The |
officer found a bag was filled with an unidentified green leafy substance. The DHO finds
the reporting staff to be credible, with no reason to falsely accuse the inmate. You did
not provide any evidence to refute the charge. Possessing intoxicates is not warranted:
nor will it be tolerated in this secure environment.

 

 

Page 2 of 4

 
 

 

 

 

 

 

 

 

 

 

 

 

 

. DISCIPLINE HEARING Oltr«CER REPORT | BP-S305.052 MAY 94
US. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
VI. SANCTION OR ACTION TAKEN

Disallow Good Conduct Time 41 days Suspended | Yes No x
Forfeit Non-Vested GCT Suspended Yes No
Disciplinary Segregation 30 days Suspended Yes No Xx
Loss of Commissary Privileges 180 days Suspended Yes No x
Loss of Telephone Privileges Suspended | Yes No

Loss of Visitation Privileges 180 days Suspended Yes No x
Loss of Email Privileges Suspended | Yes No
previously suspended sanction being Yes No Report #

xecuted ,

 

 

 

 

 

 

 

Recommendation by the DHO: N/A

 

VII. REASON FOR SANCTION OR ACTION TAKEN

 

The sanctions are for the express purpose of holding you accountable for violating the
rules and to deter you, and others, from this type of misconduct in the future. The
disallowance of Good Conduct Time was used to comply with mandatory sanctioning
guidelines for a PLRA sentenced inmate. The other sanctions are for the express purpose
of holding you accountable and to deter you from this type of misconduct in the future.

 

VIII. APPEAL RIGHTS: The inmate has been advised of the findings, specific evidence
relied on, action and reasons for the action, The inmate has been advised of his right
to appeal this action within 20 calendar days under the Administrative Remedy Procedure.

A copy of this report has been given to the inmate.

 

 

 

 

 

 

Yes X | No

 

IX. DISCIPLINE HEARING OFFICER

 

Printed Name of DHO Signature of DHO Date

Ss. L. Lacy . . NO 12/15/2014
Report delivered to inmate: ; \ fotos

c .
Replaces BP-304(52) of JAN 88

 

 

 

 

 

 

(This form may be replicated in WP)

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BP-AG288 AUG 11

c™.

(

: INCIDENT REPORT CDFRM

FE. .2&L BUREAU OF PRISONS

5.3, DEPARTMENT OF JUSTICE _

Part IT = Incident Renort

 

FCC BEAUMONT - MED

H 265766

3

 

 

 

1. Institution:
2. Inmate’s Name 3. Register Number 4. Date Of Incident 5, Time
Blasirue, Brett 68872-097 12-04-2014 6:15PM
6. Place Of Incident 7. Assignment 8. Unit
Compound in front of Recreation Bakery SS KB

 

 

9, Incident: Possession of any narcotics, marijuana, 10.Prohibited Act Codes (s): 113

drugs, Alcohol not prescribed for the individual by medical
staff

11. Deseription Of Incident (Date:

 

12-04-2014 Time: 6:15 2M Staff became aware of incident)
On 12-04-2014 at approximately 6:15 PM, while conducting a pat search on inmate Blasirue, Brett
Reg#68872-097 on the compound in front of recreation, I discovered that he had a brown leather bag tied to a
lanyard around his neck. Upon further investigation, I found that the bag was filled with an unidentified green
leafy substance. I took the substance to the lieutenant’s office where it was tested by the Operations LT using
the “Nik Test Kit A” in which it tested positive for Amphetamine.

12. Typed Name/Signature of Repgrting Employee 13. Date And Time

12-04-2014
8:03 PM

 

 

16. Time Incident

EDS eon

L. Russell C.O.
15. Date Incident

/ ALA
Cc” ¢
14. Incident Report areny To Above Inmate by
LDweshe 7 Zo 2:7- Lv

Part II - Committee Action

17. Comments Of Inmate To Committee R ghfding Above Incident
u wo Comnnnon |

Zz

B. “ whe Committee Is referring the
charge(s) to the DHO for further heaxing.

 

 

 

18. A, It Is The Finding Of The Committee That You:

Committed The Following Prohibited Act. -
The Committee advised the inmate of

Cc.
its finding and of the right to file an appeal

Did Not Commit A Prohibited Act.
within 20 calendar days.

 

Committed Prohibited Act Code(s):

19. Committee D ts SHO OH | S pet Follows:
IS ©

 

 

 

20. Committee action and/or recommendation if referred to DHO (Contingent upon DHO finding inmate

committed prohibited act) ton
jr Gc, Lode poiribespe; Ns

ion (9-9-4 Sil (The UDC Chairman's sSignature certifies who sat on the upc
eport accurately reflects the UDC proceedings.)

Membex (Typed Name) Member (Typed Name)

tries with the number 1 and work up, Enirles not completed wil be voldod by stelf,
hin 24 hours of Part I Preparation.

Replaces BP-288.052 Of MAY 94

 

     
 

 

21. Date And Time Of
and that the compl¢fe

 

 

o

CHaizhan (Typed Name signature)

INSTRUCTIONS: At lems culside heavy rule are for staff usa only. Begin en'
DISTRIBUTE: ORIGINAL-Central File record: Copy 1 - DHO; Copy 2 = Inmate after UDC Action: Copy 3 - Inmate wit!
PDF Prescribed by P 5270
C 4

BP-S293.052 INMATE RIGHTS AT DISCIPLINE HEARING  cprrM

MAY 94 :
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

eae

Institution: FCC BEAUMONT (MED)

As an inmate charged with a violation of Bureau of Prisons rules or regulations referred
to the Discipline Hearing Officer (DHO) for disposition, you have the following rights:

1. The right to have a written copy of the charge(s) against you at least 24 hours
prior to appearing before the Discipline Hearing Officer;

2. The right to have a full-time member of the staff who is reasonably available
to represent you before the Discipline Hearing Officer;

3. The right to call witnesses (or present written statements of unavailable
witnesses) and to present documentary evidence in your behalf, provided
institutional safety would not be jeopardized;

4. The right to present a statement,or to remain silent. Your silence may be used
to draw an adverse inference against you. However, your silence alone may not
be used to support a finding that you committed a prohibited act;

5. The right to be present throughout the discipline hearing except during a
period of deliberation or when institutional safety would be jeopardized. If you
elect not to appear before the DHO, you may still have witnesses and a staff

representative appear on your behalf;

6. The right to be advised of the DHO’s decision, the facts supporting that
decision, except where institutional safety would be jeopardized, and-the DHO=s
disposition in writing; and,

7. The right to appeal the decision of the DHO by means of the Administrative
Remedy Procedure to the Regional Director within 20 calendar days of notice of

the DHO’s decision and disposition.

I hereby acknowledge that I have been advised of the above rights afforded me at a
hearing before the Discipline Hearing Officer. I have further been advised that if
I have previously received either a presumptive or effective parole date fromthe Parole
Commission, a finding by the DHO that I committed the prohibited act(s) may result
in a rescission or retardation by the Parole Commission of the presumptive or effective

parole date

  

Signed: Reg. No.: 68872-097 Date: December 5, 2014

Inmate

Notice of rights NQ- inmate (Date/time): 12-05-14 S/Op
by: S. Allen

/ Staff Printed Name/Signature

 

(This form may be replicated via WP) Replaces BP-S293 (52) of JAN 88.
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BP-S294.052 NOTICE OF DISCIPLINE HEARING BEFORE THE (DHO)  cpFrrM

MAY 94
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

Nene ee eee a a rence

FCC BEAUMONT (MED)

 

 

 

 

 

 

 

 

Institution
December 5, 2014
: Date
TO: BLASIRUE, BRETT Reg. No.: 68872-097
ALLEGED VIOLATION (S): POSSESSING DRUGS/ALCOHOL
DATE OF OFFENSE: 12-04-14 Code No.: 112
You are being referred to the DHO for the above charge(s).
The hearing will be held on: NEXT AVAILABLE at . (A.M./P.M.) at the following location:

DOCKET

 

You are entitled to have a full-time staff member represent you at the hearing. Please indicate below whether
you desire to have a NY and if so, his or her name.

I (do) (do not) wish to have a staff representative.

If so, the staff representative's name is:

 

You will also have the right to call witnesses at the hearing and to present documentary evidence in your
behalf; provided, calling your witnesses will not jeopardize institutional safety. Names of witnesses you
wish to call should be Mste# Below. Briefly state to what each proposed witness would be able to testify.

I (do) (do not) wish to have witnesses.

NAME; Can Testifyfo:

VA
LZ.

NAME: Jan Testify to:

ZL
VA

NAME: L Can Testify to:

The Discipline Hearing Officer will call those witnesses (Staff or Inmate) who are reasonably available,
and who are determined by the DHO to have information relevant to the charge(s). Repetitive witnesses and
repetitive character references need not be called. Unavailable witnesses may be asked to submit written
statements.

If additional space is needed, use the reverse side of this form. Date, sign, and return this form to the

 

 

 

 

DHO.
DATE: December 5, 2014 SIGNATURE: % bh thfe— p ——:_. “1
y / =
Notice of hearing before DHO given inmate 12-05-14 by A
IDC S. Allen
Date/Time Staff Printed Name/Shgnature

(This form may be replicated via WP) Replaces BP-294(52) of JAN 88
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poe th )

 

 

ek ww . ( JO ASSISTANT WORKSHE\ «
name Dlaciewe woo. LLV29-097 ime DOT 7005
HEARING DATE: dad-//-1Y me: §2> Kon P.M. CODE(S): LL4

 

INMATE RCVD A COPY OF LR. : 8 / NO INMATE UNDERSTANDS HIS RIGHTS: Oy / NO

INMATE REQUESTED STAFF REP.: YES io f INMATE REQUESTED WITNESS: YES(NO
DHO HEARING WAS TED BY:

 

ADMITS / DENIED /\NEITHER)/ INMATE REFUSED TO APPEAR AT THE DHO HEARING
SUMMARY OF INMAT MENT:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OP be
I/M WAIVED STAFF REP AT THE DHO HEARING YM WAIVED WITNESS AT THE DHO HEARING
STATEMENT OF STAFF REPRESENTATIVE / WITNESS
STAFF REP
WITNESS
se
V3 DUK—
NMATE DID COMMIT THE PROHIBITED ACT OF CODE(S):
| ( GCT (months)___(days) LOC
FFNVGCT 12. } ap’? , (months) ___(days) LoT_/Z-H-1%~— (4:
DS - SUSP A’ . (months) (days) EMAIL &
XECUTED LRW \ ce _é@e c
DISC. TRANSFER ( L (months) __ (days) LOV_ (
(months) (days) LOVRS
RESTR. QTRS. (Immediate Family Visit only-LOW, MED(contact visit)USP(non contact)
estriction will start upon i/releases from SHU) (days) LOM ( a.m. to _ p.m.)
MONT. RESTITUTION LOJ (FS. FAC. UNICOR WAREHOUSE)

IMPOUND PERS. PROP.
Brett Michael Blasirus
68872-097
P.9. Box 26046
Beaumont, Texas 77720

Clerk of the Court
300 Willow Street
Beaumont, Texas 77701

 

Dear Clerk cf the Court;

I am submitting the following petition to this Court in
order to pursue this incident and to seek justice. JT would ask
that this CGovrt file this petition and send a copy to the
government since I do not have that address thank vou.

T look forward to hearing from vou and this Court. Thank
vovw for your time and consideration in this matter.

‘Respectfully Submitted,

 
